                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                     AT GREENEVILLE




  UNITED STATES                                    )
                                                   )
                                                   )
  v.                                               )         No. 2:09-CR-17
                                                   )
                                                   )
  CHRISTOPHER ALAN MITCHELL                        )




                                   MEMORANDUM AND ORDER


         On August 20, 2020, this Court vacated its prior order vacating defendant’s conviction in

  light of United States v. Stitt, 860 F. 3d 854 (6th Cir. 2017) rev’d United States v. Stitt, 139 S. Ct.

  399 (2018), granted the government’s motion to reinstate the original judgment, and reinstated the

  original 180-month term of imprisonment. [Doc. 111]. On August 26, 2010, defendant moved the

  Court to reconsider and order the federal sentence to run concurrently with a since imposed term of

  imprisonment based in part on the same incident which led to the charge in this case, something the

  Court did not do at the time of the original sentencing. [Doc. 112]. The United States responded

  in opposition to the motion to reconsider, [Doc. 113]. While the motion was still pending, defendant

  filed a notice of appeal, [Doc.114]. The Sixth Circuit thereafter held the appeal in abeyance until

  the district court ruled on the pending motion. [Doc. 115]. For the reasons which follow, the motion

  to reconsider will be DENIED.

         The only issue raised in the motion to reconsider is the one mentioned above. Defendant

  acknowledges that, at the time of the original sentence, the Court lacked lawful authority to order


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  the federal sentence to be served concurrently with a yet-to-be imposed state sentence, but argues

  the Court should now order just that in view of the Supreme Court’s decision in United States v.

  Setser, 566 U.S. 231 (2012).        The United States argues in opposition that a motion for

  reconsideration is not an appropriate method with which to raise a new claim. The government also

  argues that even if the court has authority to entertain the claim, Setser does not provide a basis for

  doing so.

         The United States is correct. The record is clear that the claim has not been raised previously

  and is therefore “a new claim.” See Dean v. City of Bay City, 239 F. App’x 107, 111 (6th Cir.

  2007). The defendant did not file a reply to the government’s response and offers no contrary

  argument. The government correctly points out that the defendant could have raised the claim in

  any of its several responses to the government’s motions to vacate the § 2255 order or to reinstate

  the judgment in the criminal case but did not. Likewise, Setser does not afford any authority to the

  Court to modify Mr. Mitchell’s previous sentence. Setser is not retroactive and, while the Court

  may be somewhat sympathetic to defendant’s argument, the Supreme Court’s decision would not,

  in any event, require the Court to grant the requested relief at any resentencing hearing. See United

  States v. Hopkins, 568 F. App’x 143, 147 n.3 (3d Cir. 2014) (“Setser is not retroactive.”). For these

  reasons, defendant’s motion to reconsider, [Doc. 112], is DENIED.

         SO ORDERED.

                 ENTER:


                                                                      s/J. RONNIE GREER
                                                                 UNITED STATES DISTRICT JUDGE




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